      Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 1 of 40




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JEFFREY A. COCHRAN, Individually            Civil Action No.
and on Behalf of All Others Similarly       1:19-CV-564-TCB
Situated,

                         Plaintiff,

            v.
                                            JURY TRIAL DEMANDED
THE PENN MUTUAL LIFE
INSURANCE COMPANY and
HORNOR, TOWNSEND & KENT,
LLC,

                         Defendants.

           PLAINTIFF’S AMENDED CLASS ACTION COMPLAINT

      By and through his undersigned counsel, Plaintiff Jeffrey A. Cochran

(“Plaintiff”), alleges the following against The Penn Mutual Life Insurance

Company (“Penn Mutual”) and Hornor, Townsend & Kent (“HTK”)

(collectively, “Defendants”). Plaintiff makes these allegations upon personal

knowledge as to those allegations concerning Plaintiff and, as to all other matters,

upon the investigation of counsel, which included, without limitation: (a) review

and analysis of public filings made by Defendants and other related parties and

non-parties with the Financial Industry Regulatory Authority (“FINRA”), the
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 2 of 40




  U.S. Securities and Exchange Commission (“SEC”) and other regulatory

  authorities; (b) review and analysis of press releases, marketing materials, and

  other publications disseminated by Defendants and other related parties and non-

  parties; and (c) review of news articles and investor communications.

                          NATURE OF THE ACTION

      1.    This is a class action seeking to challenge Defendant HTK’s self-

serving practice of recommending that customers’ tax-qualified accounts, such as

IRAs, be used to fund variable annuity contracts, specifically those issued by its

parent, Defendant Penn Mutual.

      2.    A variable annuity is a hybrid insurance and investment product. Under

the Internal Revenue Code, insurance products are exempt from income taxation on

their inside investment build-up (earnings). The economic value of investing

through a deferred annuity is to qualify for these tax advantages, including tax

deferral of earnings and the ability to switch among different investment accounts

inside the annuity without triggering current taxation. However, for persons funding

retirement plans (traditional IRAs, rollover IRAs, Roth IRAs, 401(k) plans, and

403(b) arrangements, for example), these tax advantages are unnecessary and

redundant. Under the Internal Revenue Code, such retirement plans are already

automatically tax deferred (also referred to as “tax-qualified”) regardless of the

                                         2
        Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 3 of 40




investments placed in the plan. But the simple fact is that brokerage firms make

more money selling variable annuities than they make selling other products. So

despite the fiduciary relationship and a true conflict of interest, Defendants

nevertheless target sales of variable annuities to persons seeking to invest tax-

qualified retirement funds.

      3.     At least one previous case has successfully challenged variable

annuities in tax-qualified plans. See generally Cooper v. Pacific Life Ins. Co., 229

F.R.D. 245 (S.D. Ga. 2005) (Alaimo, J.) (certifying a nationwide class of variable

annuity purchasers asserting violations of § 10(b) of the Securities Exchange Act of

1934 and other federal securities statutes). The Cooper case focused on disclosure

failures, but this case takes a different approach. Plaintiff does not challenge the

disclosures at issue here, but instead alleges that this practice is a breach of the

fiduciary duties that brokerage firms owe to their customers under Georgia law.

      4.     The applicable standard was articulated by a unanimous Georgia

Supreme Court in Holmes v. Grubman, 286 Ga. 636, 643 (2010). There, in response

to a certified question from the Second Circuit of whether “a brokerage firm owe[s]

a fiduciary duty to the holder of a non-discretionary account” under Georgia law, the

Justices answered in the affirmative, concluding that “[t]he broker will generally

have a heightened duty, even to the holder of a non-discretionary account, when

                                         3
        Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 4 of 40




recommending an investment which the holder has previously rejected or as to which

the broker has a conflict of interest.” 286 Ga. at 643 (emphasis added).

      5.     HTK’s uniform practice of recommending that its clients use tax-

qualified funds to purchase variable annuities constitutes just such a conflict of

interest, and the practice cannot pass muster when held up to a fiduciary standard.

Simply stated, a fiduciary has a duty to put the interests of his client ahead of his

own. And that is not happening here. HTK is instead violating its duties under

Holmes, responding to the conflict by choosing to engage in a form of self-dealing

that puts its own interests ahead of its clients’ interests.

      6.     Brokerage firms sell variable annuities because of their relatively high

fees and the large commissions that come with them. The insurance and surrender

fees charged to annuity owners (which are in addition to excessive investment

management fees, excessive contract administration fees, and excessive add-on rider

fees) yield much greater income to Defendants than would be realized from the sale

of straight mutual funds providing the same investment options. This greater income

provides additional profits to Defendants and additional compensation to the selling

agents, who receive higher commissions on variable annuity sales than they would

on sales of mutual funds. But the high fees associated with variable annuities can

only be justified from the customer’s standpoint by their tax-deferred growth, a

                                            4
        Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 5 of 40




benefit that is useless in an IRA like Plaintiff’s, which consisted entirely of already

tax-qualified funds.

      7.     Plaintiff opened a rollover IRA account with HTK in January 2013 by

entering into a contract entitled “HTK Account Agreement.” See Exhibit A hereto

(redacted). With regard to investment advice that could be compromised by a

conflict of interest, the HTK account contract assures customers that “HTK

representatives make their recommendations to clients based upon the product

suitability to the client and are primarily concerned with recommending products

that are consistent with the client’s stated investment objectives and needs.” Ex. A

at (pdf) p. 13 of 19.

      8.     In spite of what the contract says, however, Mr. Cochran was urged and

directed by his HTK retirement advisor/fiduciary to invest his retirement funds in a

Penn Mutual variable annuity, which he did on February 4, 2013. Because Mr.

Cochran followed that advice, his fiduciary has raked significant unnecessary fees

throughout the six-year period since he purchased the annuity: Mortality and

Expense (“M/E”) charges of 1.45%; Administrative charges of 0.15%; Rider charges

of 1.05%; and excessive underlying subaccount expenses ranging from 0.95% to

1.80%. All of this on an annual basis, and all of it before the prospect of an additional




                                           5
           Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 6 of 40




surrender charge is factored in.1 As a result, huge amounts of money that should

have been deployed for Mr. Cochran’s benefit have instead been siphoned off – by

his fiduciary – in the form of inappropriate fees.

      9.       And it matters, because these fees make a huge difference in investment

returns over the course of many years of saving and investing for retirement. By

retirement age, insurance fees and other detriments of variable annuities cause the

loss of a tremendous percentage of a retirement investor’s account value, as

compared to straight investment products such as mutual funds. This loss in value

is not justified by any of the other supposed “benefits” of the variable annuity

vehicle.

      10.      Mr. Cochran’s experience (in just the last six years) is a testament to

that fact. The many layers of fees make a direct comparison a bit cumbersome, but

by way of illustration, had Mr. Cochran’s retirement funds been invested in equities



1
       A “surrender charge” is a fee charged if the investor sells or withdraws all or
a portion of their investment in the variable annuity before a certain time period
runs. According to the SEC, “[t]his charge is used to pay your financial
professional a commission for selling the variable annuity to you.” See
https://www.sec.gov/reportspubs/investor-
publications/investorpubsvaranntyhtm.html#vch (last accessed Apr. 28, 2019).
Essentially, the advisor/fiduciary is guaranteed a significant payment from selling
his client a variable annuity, even if the client realizes the investment was a poor
one. Plaintiff’s “surrender period” is 8 years. There is no benefit to this charge to
the client. It is there to make sure the fiduciary gets his commission.
                                           6
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 7 of 40




(as they were in the 401(k) from which these funds were taken) such as a low-cost

S&P 500 ETF2 on February 4, 2013, the initial investment of $365,274.83 would

have been worth $712,435.99 as of the end of September, 2018, for a gain of

$347,161.16, or 95%. By contrast, because these potential investment gains have

instead been absorbed in the form of high and unnecessary fees, Mr. Cochran’s

September 2018 statement shows that his annuity was worth $498,313.63 if you

include the surrender charge, for a gain of $133,038.80, or 36.4%. This back-of-the-

envelope calculation shows the amounts in controversy and the magnitude of the

harm to Plaintiff and each Class member.

      11.   Plaintiff brings this action to recover damages in an amount to be

determined at trial on behalf of the following Class: all Georgia residents who were

customers of Hornor, Townsend & Kent, LLC and who purchased an individual

variable deferred annuity contract or who received a certificate to a group variable

deferred annuity contract issued by The Penn Mutual Life Insurance Company, or

who made an additional investment through such a contract, from February 1, 2013

through the present (the “Class Period”) that was used to fund a contributory


2
      The old Fifth Circuit expressly endorsed the use of stock indices as an
appropriate measure of damages to show how an account could have performed in
the absence of misconduct. Miley v. Oppenheimer & Co., Inc., 637 F.2d 318, 328
(5th Cir. 1981).

                                         7
        Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 8 of 40




retirement plan or arrangement qualified for favorable tax treatment pursuant to

sections 401, 403, 408, 408A, or 457 of the Internal Revenue Code. Excluded from

the Class are Defendants, any officer or director of Defendants or entity in which

Defendants had a controlling interest during the Class Period, any member of those

persons’ immediate families, and the legal affiliates, heirs, controlling persons,

agents, successors and predecessors in interest or assigns of any such excluded

person or entity.

                          JURISDICTION AND VENUE

      12.    This Court has original jurisdiction over this Class action pursuant to

28 U.S.C. § 1332(d)(2).       The claims of the Class members are in excess of

$5,000,000 in aggregate, exclusive of interest and costs, and at least one member of

the Class is a citizen of a state different from the Defendants. In addition, this Court

has original jurisdiction over this action pursuant to 28 U.S.C. § 1332(a). The

amount in controversy exceeds $75,000, exclusive of interest and costs, and the

Plaintiff is a citizen of a state different from the Defendants.

      13.    This Court has jurisdiction over the Defendants because they transact

business in this state, have purposely availed themselves of the laws of this state,

and because a substantial part of the events giving rise to Plaintiff’s causes of action

occurred in this state.

                                           8
        Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 9 of 40




      14.    Venue is proper in this District pursuant to 28 U.S.C. § 1391.

Defendants maintain offices throughout the state of Georgia, Penn Mutual’s

registered agent is located in Gwinnett County in this district, and a substantial part

of the events giving rise to Plaintiff’s causes of action occurred in this district.

      15.    In connection with the acts, transactions, and conduct alleged herein,

Defendants directly and indirectly used the means and instrumentalities of interstate

commerce, including but not limited to the mails and interstate telephone

communications.

                   PARTIES AND RELATED NON-PARTIES

      16.    Plaintiff Jeffrey A. Cochran is and was at all pertinent times a Georgia

resident. He was sold a Penn Mutual deferred variable annuity based on the

recommendation of his HTK advisor, and through his HTK advisor, during the Class

Period on February 4, 2013 and suffered damages as a result. Mr. Cochran was

formerly employed by J.A. Thomas & Associates, Inc. and had a 401(k) account

there until the company was acquired and the plan terminated. Thereafter, he rolled

those 401(k) funds into a rollover IRA, which is also tax-qualified. Mr. Cochran

was introduced to Llewellyn Rowell, who was a registered representative employed

by HTK in Marietta, Georgia. Mr. Rowell convinced Mr. Cochran (and a number

of his co-workers at J.A. Thomas who were in the same situation) to invest those

                                            9
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 10 of 40




tax-qualified IRA funds in a Penn Mutual deferred variable annuity. Mr. Cochran’s

variable annuity contract is still subject to a surrender penalty, which has impeded

his ability to exit this product. Mr. Cochran’s relationship with HTK and HTK’s

conduct and actions associated therewith, is representative for each member of the

proposed Class.

      17.    Defendant HTK is a brokerage firm and investment adviser firm selling

mutual funds, stocks, bonds, variable life insurance products, and annuities. It is

organized as a for-profit Pennsylvania limited liability company with its principal

office located at 600 Dresher Road, Horsham, Pennsylvania 19044. The LLC has

only one member, and that is Penn Mutual, so HTK is Penn Mutual’s wholly-owned

subsidiary, an arrangement that is often referred to in the insurance industry as a

“captive” broker-dealer structure. HTK also serves as principal underwriter of the

Penn Mutual annuity contracts. As detailed herein, HTK sells Penn Mutual annuities

to its clients in lieu of other more appropriate investments.

      18.    Defendant HTK was at all times relevant hereto the employer of Mr.

Rowell and many other individual brokers.

      19.    Mr. Rowell and the other brokers were acting within the scope of their

employment when they took the actions described herein.




                                          10
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 11 of 40




      20.    The acts of Mr. Rowell and of each employee, agent, and representative

of Defendants are imputed to and binding upon Defendants under the doctrine of

respondeat superior, principles of agency law, licensing, controlling person and/or

as otherwise allowed by law.

      21.    Defendant Penn Mutual is an insurance company organized as a for-

profit Pennsylvania corporation with its principal office also located at 600 Dresher

Road, Horsham, Pennsylvania 19044. Penn Mutual maintains its Georgia registered

agent in Gwinnett County. Penn Mutual is the parent company to HTK.

      22.    In late 2012, Penn Mutual made the strategic decision to focus on the

captive broker-dealer model for its variable annuity business. In November 2012, it

cut down on the number of selling agreements with independent broker-dealers,

going from 80 to 30. The plan was to focus on distribution of Penn Mutual’s

proprietary variable annuity products through HTK, its wholly-owned broker-dealer.

The captive structure Penn Mutual chose to embrace is rife with potential for self-

dealing and other conflicts of interest.

      23.    In addition to HTK, Penn Mutual is the parent company to several other

wholly-owned subsidiaries that collect fees and/or generate fees for Penn Mutual

through their involvement in the variable annuity business at various levels.




                                           11
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 12 of 40




      24.   Non-party Penn Series Fund is an open-end management investment

company that offers the shares of sub-accounts (funds) for the variable annuity

contracts issued by Penn Mutual and The Penn Insurance and Annuity Company

(“PIA”). There are approximately 30 funds in the series. Penn Mutual provides

certain administrative and corporate services to the Funds pursuant to the Second

Amended and Restated Administrative and Corporate Services Agreement and

certain shareholder services pursuant to the Service Agreement. The fees paid to

Penn Mutual under each agreement for the provision of such services are based on a

predetermined percentage of daily average net assets of each Fund. The services

provided by Penn Mutual pursuant to the agreements include, but are not limited to:

(a) maintenance of certain records; (b) implementation of certain policies and

procedures related to anti-money laundering and customer identification programs;

and (c) coordination of the distribution of Fund documents, including the

Prospectus, to Fund investors.

      25.   Non-party The Penn Insurance and Annuity Company is another

subsidiary that offers stand-alone insurance through Penn Mutual’s distribution

system. It is unclear whether it participates directly in the annuities sold by Penn

Mutual or whether the insurance sold is tangential to those products.




                                         12
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 13 of 40




      26.    Another Penn Mutual subsidiary, non-party Penn Mutual Asset

Management, Inc. (PMAM) provides asset management services to the Penn Series

Funds in return for advisory fees. In most cases, Penn Mutual farms out the actual

day-to-day management of the funds to a subadvisor. In such cases, Penn Mutual

still collects an advisory fee and pays a portion to the subadvisor.


                         ADDITIONAL ALLEGATIONS

The Fees

      27.    At all times relevant hereto, HTK was and is in the business of offering

investment advice in exchange for fees. Plaintiff and the Class members entered

into a contractual relationship with HTK whereby HTK would advise and assist

Plaintiff in making appropriate investments, and Plaintiff would pay a fee for such

advice and assistance. See Ex. A, HTK Account Agreement. Plaintiff and the Class

members carried out their end of that arrangement, but HTK did not. Instead of

recommending appropriate investments for Plaintiff’s IRA, HTK steered that money

to variable annuities that would generate larger fees for HTK and Penn Mutual.

      28.    The typical client who is sold an annuity by HTK pays approximately

3.5% per year in fees. In most cases, 90% or more of these fees are ultimately paid

to Penn Mutual and/or Penn Mutual subsidiaries.



                                          13
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 14 of 40




      29.    For example, Mr. Cochran was sold a Smart Foundation Plus Annuity.

The total annual expenses for the annuity are 3.56%. According to SEC filings,3

these break down as follows: 1.45% M&E Risk charge; 0.15% Administrative Fee;

0.86% Blended Expense Ratio on the two underlying Penn Series Funds; 1.10%

Guarantee Growth and Income Rider.

      30.    The annuity has a Mortality and Risk Expense charge of 1.45%

annually, which is paid to Penn Mutual. This fee is primarily used to recoup the

amount that Penn Mutual paid to its captive broker-dealer, HTK, as a selling

commission for placing the customer in the annuity.

      31.    The annuity has an administrative fee of 0.15% annually, which is paid

to Penn Mutual.

      32.    The underlying investments (the “subaccounts” or “funds”) within the

Smart Foundation Plus Annuity were selected from a menu of the Penn Series Fund.

Each of these subaccounts has an annual expense ratio. The two funds in Mr.

Cochran’s annuity are the Flexibly Managed Fund (70% of the initial asset

allocation) and the Quality Bond Fund (30% of the asset allocation). The expense

ratio for the Flexibly Managed Fund is 0.94% per year, while the expense ratio for


3
       Certain of these fee percentages set forth in SEC filings differ slightly from
those set forth above in paragraph 8, which are taken from Mr. Cochran’s account
paperwork.
                                          14
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 15 of 40




the Quality Bond Fund is 0.68% per year. The blended expense ratio (weighting

the expense ratios according to the 70/30 split) for the subaccounts in the annuity is

0.86% per year.

      33.    The expense ratio for each fund consists primarily, but not entirely, of

an advisory fee and an administrative fee. For example, for the Flexibly Managed

Fund, the 0.94% expense ratio consists of an advisory fee of 0.70%, which is paid

directly to PMAM, and an administrative fee of 0.15% that is paid directly to Penn

Mutual. The remaining 0.09% is a combination of smaller fees such as accounting,

custodial, and director’s fees.

      34.    Though PMAM collects the advisory fee of 0.70% for the Flexibly

Managed Fund, it is not involved in the day-to-day management of the fund assets.

Penn Mutual farms out the actual management of the fund to T. Rowe Price in

exchange for approximately half of the advisory fee (0.35%). The sub-advisor

agreements with T. Rowe Price and other sub-advisors contain language that reads:

“To enable Sub-Adviser to fully exercise its discretion, Adviser hereby appoints

Sub-Adviser as agent and attorney-in-fact for the Fund with full power and authority

to buy, sell and otherwise deal in securities and contracts for the Fund.”




                                          15
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 16 of 40




      35.      Therefore, though PMAM is not actually managing the fund, it is still

being paid 0.35% per year for other “services.” From the prospectus of the Penn

Series Fund:

      Manager of Managers Structure. PMAM serves as “manager of
      managers” for each of the sub-advised Funds. This means that
      shareholders of each Fund have authorized PMAM, subject to the
      supervision and approval of the Company’s Board of Directors, to hire
      and terminate unaffiliated sub-advisers without shareholder approval.
      PMAM remains responsible for the performance of the Funds, as it
      recommends hiring or replacing sub-advisers to the Company’s Board
      of Directors. Each sub-adviser makes investment decisions for the Fund
      it manages. PMAM oversees each sub-adviser to monitor compliance
      with the Fund’s investment policies and guidelines and adherence to its
      investment style. In its capacity as “manager of managers,” PMAM
      currently has hired sub-advisers to manage the assets of the Flexibly
      Managed, Large Cap Value, and Small Cap Value Funds. While
      PMAM currently directly manages the assets of the Money Market,
      Quality Bond, and Limited Maturity Bond Funds, it may hire sub-
      advisers to manage the assets of these Funds in the future without
      shareholder approval.

      (Penn Series Fund Form N-1A 2015, p. 154 of 651).

      36.      As noted above, PMAM directly manages the Quality Bond Fund,

which constitutes 30% of Mr. Cochran’s assets within the annuity. Therefore

PMAM keeps the entire advisory fee of approximately 0.44%.

      37.      The insurance rider sold within the annuity contract was the Guaranteed

Growth and Income Rider based on a single life. The annual expense for this

insurance rider is 1.10%.

                                          16
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 17 of 40




The Impact of Fees on Investment Performance

      38.    The SEC writes in an investor bulletin: “As with anything you buy,

there are fees and costs associated with investment products and services. These fees

may seem small, but over time they can have a major impact on your investment

portfolio.” (emphasis in original).4

      39.    Fees have a direct and negative impact on investment returns. This fact

is axiomatic, as investor returns are net of expenses. However, high fees have greater

effects over long investment horizons, which, by definition, is the applicable

timeline for tax-qualified retirement accounts.

      40.    Researchers have discussed the negative impacts of high fees on

performance. For example, in “Fixing the Drain on Retirement Savings,”5 authors

Erikson and Madland write:

                a. The corrosive effect of high fees in many retirement accounts

                   forces many Americans to work years longer than necessary or

                   than planned.




4
      Available at https://www.sec.gov/investor/alerts/ib_fees_expenses.pdf
5
       Available at
https://www.americanprogress.org/issues/economy/reports/2014/04/11/87503/fixin
g-the-drain-on-retirement-savings/.
                                         17
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 18 of 40




                 b. There are two principal problems when it comes to retirement

                    fund fees. First, they are often obscure or misunderstood.

                    Second, they are often simply too high.

                 c. The impact of these fees is so dramatic that it can strip away 20

                    percent or more of an employee’s retirement savings. In fact,

                    according to simulations in an earlier report, the typical worker

                    is able to achieve sufficient retirement income “69 percent of

                    the time when fees are at 0.5 percent, 57 percent of the time

                    when fees were 1 percent, 45 percent of the time when fees

                    were 1.5 percent, and just 29 percent of the time when fees

                    were 2 percent.”

Note that the annual fees charged to Mr. Cochran (even before insurance riders)

were 2.46%.

      41.     The fees associated with annuities are almost always higher than other

investments. See, e.g., Money Magazine “Why are Annuity Fees so High,”6 Motley




6
      Available at http://money.com/money/collection-post/2791254/why-are-
annuity-fees-so-high/

                                          18
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 19 of 40




Fool, “What Costs do Annuities Have?,”7             and CNN, “Ultimate Guide to

Retirement.”8

      42.      A number of academic papers have looked at the ramifications of high

fees in annuities and the advisability of investing in annuities versus alternatives. In

these papers, annuities are typically compared to mutual funds. Notably, the

comparison in these studies is between an annuity (which is tax advantaged) and a

taxable mutual fund investment. This case involves investors who purchased

annuities in an already tax-advantaged IRA, so the tax advantage of the annuity is

superfluous.

      43.      In his article “Claim that Variable Annuities Usually Beat Mutual

Funds Proves Lame: Critique of Huggard's Analysis in March 1999 Issue of

Financial Planning,” William Reichenstein compares the performance of four

investment options: a) an average-cost annuity, b) a low-cost annuity, c) an actively

managed average cost mutual fund and d) a low-cost index mutual fund. He utilizes

a number of assumptions about underlying investment returns, tax rates, and holding


7
      Available at https://www.fool.com/retirement/2018/05/11/what-costs-do-
annuities-have.aspx
8
       Beginning at
https://money.cnn.com/retirement/guide/annuities_basics.moneymag/index.htm?iid
=EL

                                          19
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 20 of 40




periods. In each of his examples, the low-cost index mutual fund is a superior

investment choice to the other three. Even more dramatic, the out-right loser in all

of Reichenstein’s examples is the average cost annuity.

      44.       In Reichenstein’s examples, the average cost annuity has an annual

expense ratio of 2.0%. The Penn Mutual Annuity in this case has an annual expense

ratio of 2.46% (even before factoring in the income rider). If Reichenstein had used

the higher 2.46% expense ratio, the annuity would have been an even bigger loser in

his analysis.

      45.       Additionally, Reichenstein assumes in his analysis that the two mutual

fund investment options are in taxable accounts. Therefore he shows that even

where the mutual funds are taxed and the annuity is tax-deferred, the mutual fund

investments are superior.       The tax advantage of the annuity does not fully

compensate the investor for the drag on returns caused by the much higher expenses

in the annuity.

      46.       In this case, the alternative investments to the Penn Mutual annuities

would be tax-advantaged mutual fund investments in IRAs. A comparison among

the four investment alternatives considered by Reichenstein where the mutual funds

are also tax-advantaged would tip the scale dramatically in favor of the mutual funds

and further away from the annuities. The difference in the investment performance

                                           20
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 21 of 40




between an “average-cost” annuity and a mutual fund facing the same tax structure

would be far greater than identified in Reichenstein’s analysis. See also “Variable

Annuities vs. Mutual Funds: A Monte Carlo Analysis of the Options” by Milevsky

and Pangyagometh9 for treatment of the relative advantages of mutual funds vs.

annuities.

      47.    As an example, consider the circumstances in this case. Mr. Cochran

was sold an annuity for approximately $300,000 that was invested approximately

60/40 in stocks and bonds.10 Over the last 50 years, the average return of a 60/40

portfolio before expenses has been approximately 8.9%. If we subtract the annuity

expense ratio of 2.46% (without considering the extra cost of the income rider), the

net return to the annuity would be 6.44%. Assume as a comparison, an investment

in a similarly allocated indexed mutual fund with an expense ratio of 0.10%. After

20 years, the $300,000 annuity would have grown to $1,045,000, while the index

fund investment would have grown to $1,620,000. Over that 20-year period, the



9
       Available at
https://pdfs.semanticscholar.org/035e/afd4f084114a645ec60cea9c5bdcd039e1f4.p
df
10
       As noted above, Mr. Cochran’s asset allocation was 70% in the Flexibly
Managed Fund and 30% in the Quality Bond Fund. However, the Flexibly
Managed Fund contains some bonds, which brings the figure to approximately
60/40.
                                        21
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 22 of 40




discrepancy in fees results in the mutual fund portfolio being worth $575,000 more

than the annuity.

      48.     If we look instead at a fund or annuity investment with an expense ratio

of 0.50%, the results are still dramatic. The lower cost annuity outperforms the

higher cost annuity by $460,000 at the 20-year point. The graph below shows the

performance          differences        at        various       time        horizons:




                                             22
        Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 23 of 40




Compensation for Selling Annuities

       49.    Given the vast superiority of mutual funds vs. annuities within the same

tax-qualified account structure, there must be some other reason that brokers, like

those at HTK, would sell an inferior product to their clients. The reason is simple:

brokers are paid more for selling annuities than other products.11 Therein lies the

conflict that is at the heart of this case.

       50.    The Penn Mutual Variable Annuity Prospectus describes the surrender

charge as follows: “If you wish to withdraw more than the Free Withdrawal Amount

(see Section 4.2 “Surrender-Charge Free Withdrawals”) or decide to surrender your

Contract during the Surrender Charge Period, you may be assessed a Surrender

Charge. This charge is used to pay our sales expenses. Sales expenses that are not

covered by the Surrender Charge are paid from the surplus of the Company, which

may include proceeds from the Mortality and Expense Risk Charge.”

       51.    The combination of the surrender charge and the Mortality and Risk

charge are used to compensate Penn Mutual for the commissions paid to HTK




11
       For a discussion of the commissions paid to brokers for annuity sales, see,
e.g., “The Levels of Commission Agents Earn on Annuities,” available at
https://www.thebalance.com/what-levels-of-commission-do-agents-earn-on-
annuities-146003

                                              23
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 24 of 40




brokers. In the first full two years after the contract is sold, the surrender charge is

8%.

      52.    The commission for an annuity sale is likely 2 to 3 times higher than

the commission a broker would earn selling mutual funds. See, e.g., “Mutual Fund

Share Classes and Broker Incentives” by Edward O’Neal.

The Utmost Good Faith

      53.    A special relationship of trust and confidence exists between a

brokerage firm and its customer. As noted above, Georgia courts have expressly

characterized that relationship as fiduciary in nature, as has the Eleventh Circuit.

See, e.g., Holmes v. Grubman, 286 Ga. 636, 643 (2010) (applying O.C.G.A. § 23-

2-58’s “utmost good faith” standard); Gochnauer v. A.G. Edwards & Sons, Inc., 810

F.2d 1042, 1049 (11th Cir. 1987) (“The law is clear that a broker owes a fiduciary

duty of care and loyalty to a securities investor.”). See also Loss, Securities

Regulation 1508 (2nd Ed. 1961) (“There is in effect and in law a fiduciary

relationship”); 5C Jacobs, Litigation and Practice Under Rule 10b-5 §210.03 (1994)

(“Brokers owe a fiduciary duty to their customers”); Restatement (Second) of

Agency § 13 (1959) (“A broker-dealer acting as an agent for his customer is a

fiduciary with respect to matters within the scope of his agency”).




                                          24
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 25 of 40




      54.    Black’s Law Dictionary (6th Edition) defines a fiduciary duty as “A duty

to act for someone else’s benefit, while subordinating one’s personal interests to that

of the other person. It is the highest standard of duty implied by law (e.g., trustee,

guardian).” (Emphasis added.)

      55.    As commentators have noted, fiduciaries are strictly prohibited from

engaging in many activities that might be permissible in arm’s-length dealings:

      A fiduciary relationship is a relationship of trust and confidence in
      which one of the parties (the fiduciary) owes to the other party (the
      beneficiary) a duty of utmost loyalty and good faith. The fiduciary
      duty is even more stringent than the duty owed in confidential
      relations. The fiduciary duty is owed by an agent to his principal and
      by an employee to his employer. It is also owed by a trustee to a
      beneficiary of a trust, by an officer or director of a corporation to the
      corporation and its shareholders, a partner to the partnership, by joint
      venturers, and by a lawyer to his clients. A fiduciary may not deal at
      arm's length. [. . . ] A fiduciary must deal fairly and in good faith with
      the beneficiary. As Judge (later Justice) Cardozo said "[m]any forms
      of conduct permissible in a workaday world for those acting at arm's
      length are forbidden to those bound by fiduciary ties. A trustee
      [fiduciary] is held to something stricter than the morals of the market
      place. Moreover, a fiduciary must act solely in the interest of the
      beneficiary, not in his or her own interest or in the interest of a third
      party. The fiduciary's loyalty must be undivided, and his or her
      actions must be devoted exclusively to represent and promote the
      interests of the beneficiary.

Robert S. Adler and Richard A. Mann, Good Faith: A New Look at an Old

Doctrine, 28 Akron Law Rev. 31, 34-35 (1994) (citations omitted; emphasis

added). Georgia courts agree:

                                          25
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 26 of 40




      [W]henever a fiduciary or confidential relation exists between the
      parties to a deed, . . . the law implies a condition of superiority held by
      one of the parties over the other, so that in every transaction between
      them, by which the superior party obtains a possible benefit, equity
      raises a presumption of undue influence, and casts upon that party the
      burden of proof to show affirmatively his compliance with equitable
      requisites and of entire fairness on his part and freedom of the other
      from undue influence.

Mathis v. Hammond, 268 Ga. 158, 161 (1997) (quoting Trustees of Jesse Parker

Williams Hosp. v. Nisbet, 191 Ga. 821, 841 (1941)); O.C.G.A. § 23-2-58 (“Any

relationship shall be deemed confidential, whether arising from nature, created by

law, or resulting from contracts, where one party is so situated as to exercise a

controlling influence over the will, conduct, and interest of another or where, from

a similar relationship of mutual confidence, the law requires the utmost good faith,

such as the relationship between partners, principal and agent, etc.”).

      56.    A fiduciary relationship existed between HTK and the Class members.

HTK knew that Plaintiff and the Class members trusted HTK to recommend

appropriate investments and to put its customers’ interests ahead of its own.

Throughout the course of their relationship, HTK sought to engender, and did in fact

engender, Plaintiff and the Class members’ trust and confidence in its ability and

willingness properly to advance all of their investment objectives and needs. At all

times, HTK possessed superior skill and experience in the investment arena.


                                          26
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 27 of 40




      57.     As noted above, the HTK account contract assures customers that

HTK’s investment advice will not be compromised by a conflict of interest. Ex. A

at (pdf) p. 13 of 19 (“HTK representatives make their recommendations to clients

based upon the product suitability to the client and are primarily concerned with

recommending products that are consistent with the client’s stated investment

objectives and needs.”). On that same page (and at numerous other points) within

the HTK account contract, customers are directed to HTK’s website “[f]or detailed

and important information.” Once there, the website further provides that “Our

representatives [ ] may recommend a product from any HTK approved product

sponsor, with their recommendation based upon the client’s stated investment

objectives and needs.”

      58.     HTK’s website (last visited April 24, 2019) also contains the following

statements about what clients can expect from their relationship with HTK:

      A Foundation of Trust
      At HTK, we hold ourselves out to the highest standards of care. Our
      financial advisors work directly with you to understand your unique
      goals and objectives and provide valuable guidance to navigate
      today’s complex economic environment.


      * * *

      We partner with our representatives to help them put clients on the
      right financial path, to manage risk, ensure financial protection, and
      grow their wealth.
                                         27
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 28 of 40




      * * *

      Our national network of financial professionals is dedicated to helping
      you meet your financial planning, protection, accumulation and
      distribution needs with confidence. We also offer the unique
      opportunity to help meet your goals through Hornor, Townsend &
      Kent, LLC (HTK), our wholly owned broker/dealer subsidiary,
      Registered Investment Advisor, Member FINRA / SIPC.

      We believe that there’s no single factor more important in life than the
      value of strong personal relationships. Based on this belief, we partner
      with our financial professionals to deliver the care and personal
      attention, trusted insights and relevant solutions to protect clients.

In addition to assuring customers that they can rely on HTK to provide investment

advice untainted by conflict, statements like these demonstrate that HTK has

acknowledged and embraced its status as a fiduciary to its customers.

      59.     Because of the fiduciary relationship with HTK, the Class members

reasonably relied to their detriment on HTK’s superior skill and experience in

handling their accounts.

      60.     Under the terms of the HTK account contract and Georgia law, HTK

owed to Plaintiff and the Class members a duty to recommend appropriate

investments for funds they entrusted to HTK. Further, HTK owed this fiduciary duty

to protect and further Class members’ interests over and above HTK’s desire to

generate fees and promote its own interests and those of its corporate parent, Penn

Mutual.
                                        28
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 29 of 40




      61.   The retirement investment market in the United States has undergone a

revolution in recent decades. Instead of guaranteed lifetime pension benefits,

contributory retirement plans (like IRAs, 401(k)s, and 403(b)s) now predominate.

The goal, of course, is to maximize asset accumulation for retirement. Retirement

plans are the largest assets owned by many households, yet most individuals are not

well-equipped to deal with the complex considerations involved in effectively

managing these assets.

      62.   The sales transactions at issue in this complaint are often the single

most financially consequential decision many people will make in their lifetimes.

Defendants have willfully capitalized on investors’ lack of experience in order to

profit from selling deferred annuities to persons who do not benefit from them.

                         CLASS ACTION ALLEGATIONS

      63.   Plaintiff brings this action as a class action pursuant to Federal Rule of

Civil Procedure 23 on behalf of the following Class: all Georgia residents who were

customers of Hornor, Townsend & Kent, LLC and who purchased an individual

variable deferred annuity contract or who received a certificate to a group variable

deferred annuity contract issued by The Penn Mutual Life Insurance Company, or

who made an additional investment through such a contract, from February 1, 2013

through the present (the “Class Period”) that was used to fund a contributory

                                         29
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 30 of 40




retirement plan or arrangement qualified for favorable tax treatment pursuant to

sections 401, 403, 408, 408A, or 457 of the Internal Revenue Code. Excluded from

the Class are Defendants, any officer or director of Defendants or entity in which

Defendants had a controlling interest during the Class Period, any member of those

persons’ immediate families, and the legal affiliates, heirs, controlling persons,

agents, successors and predecessors in interest or assigns of any such excluded

person or entity.

      64.    The members of the Class are so numerous that joinder of all members

is impracticable. While the exact number of Class members is unknown to Plaintiff

at this time and can only be ascertained through appropriate discovery, Plaintiff

believes that there are hundreds of members in the proposed Class. Members of the

Class may be identified from records maintained by Defendants and may be notified

of the pendency of this action by mail, using the form of notice similar to that

customarily used in class actions.

      65.    Plaintiff’s claims are typical of the claims of the other members of the

Class as all members of the Class are similarly affected by Defendants’ wrongful

conduct in violation of Georgia law that is complained of herein.




                                         30
          Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 31 of 40




       66.     Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class action

litigation.

       67.     Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:

       (a)     whether Defendants have favored their own interests over those of

               Plaintiff and the Class members by recommending that customers’ tax-

               qualified accounts be used to fund high-fee variable annuities;

       (b)     whether Defendants’ conduct is a breach of the fiduciary duties

               required by Georgia law; and

       (c)     whether the members of the Class have sustained damages and the

       proper measure of damages.

       68.     A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy, because joinder of all members is

impracticable. There will be no difficulty in the management of this action as a class

action.




                                            31
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 32 of 40




                                          COUNT I
                                BREACH OF FIDUCIARY DUTIES
                                  (AGAINST DEFENDANT HTK)

      69.       Plaintiff repeats and realleges the preceding allegations as if fully set

forth herein.

      70.       By virtue of HTK’s Account Agreement (Exhibit A hereto) with clients

like Plaintiff, and under Georgia law, the members of the Class and HTK had a

fiduciary relationship, and HTK owed fiduciary duties to each of the Class members.

      71.       HTK was required to act with due regard for Class members’ interests

and to subordinate its own selfish interests to those of Class members where their

interests conflicted.

      72.       Instead, HTK has chosen to serve its own interests through a form of

self-dealing.     HTK has violated its fiduciary duties to the Class members by

providing investment advice that was not in customers’ best interests in an effort to

steer Class members’ money into variable annuities that would pay higher fees to

HTK and its parent, Penn Mutual.

      73.       In so doing, HTK failed to act with due regard for the Class members’

interests consistent with its fiduciary duties.

      74.       Plaintiff and the Class members have suffered damages as a direct result

of HTK’s breach of these fiduciary duties.

                                            32
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 33 of 40




      75.       Plaintiff and the Class members are entitled to all possible relief,

including an award for the full amount of their damages resulting from HTK’s breach

of fiduciary duties, plus interest, attorneys’ fees, and costs.


                              COUNT II
          PROCURING (OR AIDING AND ABETTING) THE BREACH OF
                          FIDUCIARY DUTIES
                  (AGAINST DEFENDANT PENN MUTUAL)

      76.       Plaintiff repeats and realleges the preceding allegations as if fully set

forth herein.

      77.       At all relevant times, Penn Mutual was aware that HTK owed fiduciary

duties to Plaintiff and the Class members.

      78.       Because HTK is Penn Mutual’s wholly-owned subsidiary, Penn Mutual

was in a position to (and did) advise, counsel, persuade, and command HTK to

breach its duties to Plaintiff and the Class members.

      79.       Through improper action and wrongful conduct, Penn Mutual acted to

procure (and did procure) the breach of the fiduciary duties HTK owed to Plaintiff

and the Class members. Penn Mutual induced HTK to favor its own interests and

those of Penn Mutual over the interests of Plaintiff and the Class members by

providing investment advice that was not in customers’ best interests in an effort to




                                            33
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 34 of 40




steer Class members’ money into variable annuities that would pay higher fees to

HTK and Penn Mutual.

      80.       In procuring the breach of HTK’s duties, Penn Mutual acted purposely

and with malice and the intent to benefit itself and HTK at the expense of Plaintiff

and the Class members.

      81.       Plaintiff and the Class members have suffered damages as a direct result

of Penn Mutual’s procuring the breach of HTK’s fiduciary duties.


                                   COUNT III
                     ATTORNEYS’ FEES UNDER O.C.G.A. § 13-6-11
                            (AGAINST ALL DEFENDANTS)

      82.       Plaintiff repeats and realleges the preceding allegations as if fully set

forth herein.

      83.       Defendants have caused Plaintiff and the Class members unnecessary

trouble and expense in their attempt to recover the amounts due them. As such,

Class members are entitled to recovery of attorneys’ fees pursuant to O.C.G.A. §13-

6-11 and other applicable law.

                                          COUNT IV
                                     PUNITIVE DAMAGES
                                  (AGAINST ALL DEFENDANTS)

      84.       Plaintiff repeats and realleges the preceding allegations as if fully set

forth herein.
                                            34
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 35 of 40




      85.    In Miley v. Oppenheimer & Co., Inc., the old Fifth Circuit included the

following passage in a discussion of punitive damages:

             Most courts in the past have seen fit, when they find the
             broker-dealer’s hand in the till, to simply request the
             removal of the offending appendage. And when the till is
             empty, and the broker-dealer’s fingerprints are all that
             remain where the money once lay, all the courts do is to
             require the crook to replace the booty. If ever there was a
             situation where crime pays it is in such circumstances;
             heads the dishonest broker-dealer wins and tails everyone
             breaks even. No wonder one commentator saw fit to term
             the average recovery in trading cases as creating for the
             broker-dealer a “low risk larceny.”

             . . . [T]he only way of deterring such conduct in the future
             is to take the profit away from the wrongdoers and slap on
             an additional amount as punitive damages: an award equal
             to treble damages would be fair, reasonable, and well
             within the public interest.

637 F.2d 318, 332 (5th Cir. 1981). See also Interfinancial Midtown, Inc. v. Choate

Constr. Co., 343 Ga. App. 793, 800 (2017) (“To say the only remedy of the

creditor is in equity to set aside the conveyance would be to urge the debtor to

convey his property away to hinder [ ] creditors, for if he should get caught at it, no

matter [ ] how odious the injury, the worst that could happen would be the setting

aside of the conveyance . . .”) (quoting Kesler v. Veal, 182 Ga. App. 444, 451

(1987)).



                                          35
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 36 of 40




      86.    This is not the first time HTK has run into trouble regarding its variable

annuity sales practices. At least two regulatory actions have been filed against HTK

that resulted in six-figure fines. See, e.g., FINRA Letter of Acceptance, Waiver and

Consent No. 2015043387001 (Nov. 14, 2017) (resulting in sanctions and a fine of

$275,000); see also NASD Letter of Acceptance, Waiver and Consent No.

C9A050032 (July 6, 2005) (resulting in sanctions and a fine of $325,000).

      87.    In addition to the damages that naturally and normally flow from their

claims, Plaintiff and the Class members are entitled to recover a sum in order to deter

Defendants and others from similar conduct in the future, in an amount to be

determined by the enlightened conscience of the jury.

      88.    Defendants’ actions have been willful, intentional, wanton, and have

been done with such entire want of care as to raise the presumption of conscious

indifference to consequences.

      89.    Because the acts alleged herein were willful, intentional, and done with

a specific intent to harm, there is no limitation on the amount of punitive damages.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief and judgment as follows:

             (a)    Declaring this action to be a class action pursuant to Rule 23 of

                    the Federal Rules of Civil Procedure on behalf of the Class

                                          36
Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 37 of 40




             defined herein;

      (b)    Awarding Plaintiff and the other members of the Class damages

             in an amount which may be proven at trial, plus a “benefit of the

             bargain” calculation of additional damages, plus interest as

             allowed by law;

      (c)    Awarding Plaintiff and the other members of the Class the

             expenses of litigation, including attorneys’ fees, pursuant to

             O.C.G.A. § 13-6-11 or otherwise as allowed by law;

      (d)    Awarding Plaintiff punitive damages in an amount sufficient to

             deter Defendants and others from committing similar actions in

             the future; and

      (e)    Awarding such other and further relief as the Court deems

             appropriate.

                     JURY TRIAL DEMANDED

Plaintiff demands a trial by jury of all issues so triable.




                                    37
Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 38 of 40




Respectfully submitted this 29th day of April, 2019.

                                       /s/ David A. Bain
                                       David A. Bain
                                       GA Bar No. 032449
                                       Law Offices of David A. Bain, LLC
                                       1230 Peachtree Street, NE
                                       Suite 1050
                                       Atlanta, GA 30309
                                       Tel: (404) 724-9990
                                       Fax: (404) 724-9986
                                       Email: dbain@bain-law.com

                                       James M. Evangelista
                                       David J. Worley
                                       Kristi Stahnke McGregor
                                       EVANGELISTA WORLEY LLC
                                       8100A Roswell Road Suite 100
                                       Atlanta, Georgia 30350
                                       Tel: (404) 205-8400
                                       Fax: (404) 205-8395
                                        jim@ewlawllc.com
                                       david@ewlawllc.com
                                       kristi@ewlawllc.com

                                       Michael L. McGlamry
                                       GA Bar No. 492515
                                       Jay F. Hirsch
                                       GA Bar No. 357185
                                       Kimberly J. Johnson
                                       GA Bar No. 687678
                                       POPE McGLAMRY, P.C.
                                       3391 Peachtree Road, NE, Suite 300
                                       Atlanta, GA 30326
                                       Ph: 404-523-7706
                                       Fx: 404-524-1648
                                       efile@pmkm.com

                                  38
Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 39 of 40




                                   Wade H. Tomlinson, III
                                   GA Bar No. 714605
                                   Michael Morrill
                                   GA Bar No. 545410
                                   POPE McGLAMRY, P.C.
                                   1200 6th Avenue
                                   Columbus, GA 31901
                                   Ph: 706-324-0050
                                   Fx: 706-327-1536
                                   efile@pmkm.com

                                   Roy E. Barnes
                                   J. Cameron Tribble
                                   BARNES LAW GROUP, LLC
                                   31 Atlanta Street
                                   Marietta, GA 30060
                                   Tel. 770-227-6375
                                   roy@barneslawgroup.com
                                   ctribble@barneslawgroup.com

                                   Counsel for Plaintiff and the Class




                              39
       Case 1:19-cv-00564-JPB Document 27 Filed 04/29/19 Page 40 of 40




                          CERTIFICATE OF SERVICE

      I hereby certify that on this day I have electronically filed the foregoing

PLAINTIFF’S AMENDED CLASS ACTION COMPLAINT with the Clerk of

the Court using the CM/ECF system, which will automatically send an e-mail

notification of such filing to all attorneys of record.


      Dated this 29th day of April, 2019.

                                         /s/ David A. Bain
                                         David A. Bain
                                         Georgia Bar No. 032449
                                         LAW OFFICES OF DAVID A. BAIN, LLC
                                         1230 Peachtree Street, NE
                                         Suite 1050
                                         Atlanta, GA 30309
                                         (404) 724-9990
                                         (404) 724-9986 (facsimile)
                                         dbain@bain-law.com




                                           40
